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                          6
                          7                            UNITED STATES BANKRUPTCY COURT
                          8                                      DISTRICT OF NEVADA
                          9
                        10     IN RE:                                        CASE NO.      BK-N-14-50331-BTB
                                                                             CHAPTER       7
                        11     AT EMERALD,
                        12                 Debtor.
                               _________________________________/
                        13
                               JERI COPPA-KNUDSON, TRUSTEE
                        14     FOR THE CHAPTER 7 ESTATE OF AT                Adv. No. ____________
                               EMERALD, LLC,
                        15
                                               Plaintiff,                    COMPLAINT TO AVOID
                        16                                                   PREFERENTIAL TRANSFER
                               vs.
                        17
                               JOHN BEACH, AS TRUSTEE OF THE
                        18     BEACH LIVING TRUST,
                        19                     Defendant.
                                                                         /
                        20
                        21              Jeri Coppa-Knudson, chapter 7 trustee for the estate of AT Emerald, LLC, Plaintiff
                        22     in this proceeding, as and for her complaint against John Beach in his capacity as trustee of
                        23     the Beach Living Trust dated January 22, 1999 (“Defendant” or “Beach Trust”), alleges as
                        24     follows:
                        25                                           JURISDICTION
                        26              1.     This Court has jurisdiction over this adversary proceeding pursuant to 28
                        27     U.S.C. §§ 1334 and 157(a), and Local Rule 1001(b)(1). Venue is proper in this Court by
                        28     reason of 28 U.S.C. § 1409.
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                          1           2.      This is a core matter pursuant to 28 U.S.C. § 157(b)(2)(H).
                          2           3.       In accordance with F.R.Bankr.P. 7008 and LR 7008, Plaintiff consents to the
                          3    entry by this Court of a final order or judgment.
                          4                                                PARTIES
                          5           4.      Plaintiff is the duly appointed and acting chapter 7 trustee for the estate of
                          6    AT Emerald, LLC (“ATE”). Pursuant to 11 U.S.C. § 323, Plaintiff is the representative of
                          7    the estate and has the capacity to sue and be sued.
                          8           5.      Plaintiff is informed and believes that, at all times relevant herein, the
                          9    Defendant was a trust organized under the laws of California and that John Beach was a
                        10     resident of the State of Nevada.
                        11                                         RELEVANT FACTS
                        12            6.       AT Emerald, LLC (“ATE”) filed its chapter 7 petition on March 4, 2014.
                        13     The ATE Petition was filed by Anthony Thomas (“Thomas”) in his capacity as the
                        14     managing member of ATE.
                        15            7.       ATE’s Schedule B lists “ONE EMERALD BASED UPON APPRAISAL
                        16     EXCEEDS $200,000,000”. Plaintiff believes this is the emerald in which Defendant claims
                        17     a perfected security interest.
                        18            8.      On or about January 17, 2013, ATE, through its manager Thomas, executed a
                        19     Promissory Note secured by Pledge and Security Agreement whereby ATE promised to pay
                        20     to the Beach Trust the original principal sum of $500,000.00, together with all accrued
                        21     interest, fees, and costs due thereunder.
                        22            9.      In order to secure repayment of the Note, ATE executed a Pledge and
                        23     Security Agreement wherein ATE granted to the Beach Trust a security interest in that
                        24     certain 23 kilogram black schist stone including a green crystal beryl (natural emerald) of
                        25     approximately 22,500 carats, which stone is commonly known as the “Thomas Emerald”,
                        26     referenced herein as the “Collateral”.
                        27            10.     The Beach Trust filed its UCC-1 Financing Statement with the Nevada
                        28     Secretary of State as Document Number 2014003009-2 on February 4, 2014.
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                          1            11.    The original maturity date of the Note was January 17, 2014.
                          2                                       CLAIM FOR RELIEF
                          3                                         11 U.S.C. § 547(b)
                          4            12.    Plaintiff repeats and realleges the allegations in paragraphs 1 through 11 as
                          5    though fully stated herein.
                          6            13.    Defendant loaned monies to ATE in January 2013.
                          7            14.    Defendant perfected its security interest in the Collateral on February 4,
                          8                   2014.
                          9            15.    Approximately 30 days later, ATE filed its chapter 7 Petition on March 4,
                        10     2014.
                        11             16.    As of March 4, 2014, Defendant was a creditor of ATE.
                        12             17.    The debt owed to Defendant by ATE was an antecedent debt having been
                        13     incurred more than one year prior to the Petition date.
                        14             18.    Based upon § 547(f), ATE is presumed to have been insolvent during the 90
                        15     day period prior to the Petition Date and, more specifically, was insolvent on February 4,
                        16     2014.
                        17             19.    The perfection by Defendant of its security interest on February 4, 2014 was
                        18     a transfer of an interest in ATE’s property by reason of § 101(54)(A).
                        19             20.    The transfer represented by the perfection by Defendant of its security
                        20     interest on February 4, 2014 was on account of an antecedent debt owed by ATE to
                        21     Defendant.
                        22             21.    If permitted to stand, the transfer to Defendant by means of the perfection of
                        23     its security interest on February 4, 2014 would enable Defendant to receive more than it
                        24     would receive if the perfection had not been made and Defendant received payment on the
                        25     debt owed to it to the extent provided by the provisions of Title 11.
                        26     ///
                        27     ///
                        28     ///
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                          1           WHEREFORE, Plaintiff prays for relief as follows:
                          2           For an Order avoiding Defendant’s security interest in the Collateral and determining
                          3    that its claim is an unsecured claim against the ATE estate and;
                          4           For such and further relief as the court shall deem just and proper.
                          5           DATED: August 31, 2016.
                          6                                                 HARTMAN & HARTMAN
                          7
                                                                            /S/ Jeffrey L. Hartman
                          8                                                 Jeffrey L. Hartman, Esq.
                                                                            Attorney for Jeri Coppa-Knudson,
                          9                                                 Plaintiff
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